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                        EXHIBIT 4
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                                                                    Page 1

1
                          IN THE UNITED STATES DISTRICT COURT
2                          FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION
3
             ____________________________
4
             IN RE NATIONAL PRESCRIPTION                   MDL No. 2804
5            OPIATE LITIGATION                             Case No.
                                                           17-md-2804
6            ____________________________
7            This Document Relates to:
8            SALMONS v. PURDUE PHARMA LP, et al
             MDL Case No. 1:18-op-45268
9
             FLANAGAN v. PURDUE PHARMA LP, et al
10           MDL Case No. 1:18-op-45405
11           DOYLE v. PURDUE PHARMA, LP, et al
             MDL Case No. 1:18-op-46327
12           ______________________________
13
14
15                      Zoom Deposition of Lewis P. Rubin, M.D.
16                                 Washington, D.C.
17                               September 10, 2020
18                                    10:05 a.m.
19
20
21
             Reported by:       Bonnie L. Russo
22           Job No. 4242152

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1           question, but I'm sorry, I felt it was a bit

2           vague, and I needed to qualify.                   There are

3           prescriptions and there are prescriptions.

4                       BY MR. BILEK:

5                 Q.    I understand.           My point is, is that

6           the prescription would be -- when a woman is

7           taking a prescribed opioid and she has a child

8           that is born with NAS, that prescription would

9           be a cause of the NAS in the child.

10                      MR. EHSAN:         Object to the form.

11                      THE WITNESS:           Yes.        With the

12          qualifier that the two main reasons for

13          prescribing opiates to women in the latter part

14          of pregnancy are either they have some medical

15          condition that has required or like now

16          requires opioids, or they have been essentially

17          hooked to opioids on, you know, illicitly and

18          are coming into a treatment program.

19                      In both cases, yes, the proximate

20          cause of the NAS, perhaps you could say is the

21          fact that the prescription was written, but the

22          real cause is that this was required because of




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1           earlier events often preceding the pregnancy.

2                       BY MR. BILEK:

3                 Q.    Now, going back to Dr. Anand, you

4           have relied on his expertise in the past,

5           correct?

6                       MR. EHSAN:         Object to the form.

7                       THE WITNESS:           I certainly admire his

8           expertise and find it useful in specific areas.

9                       BY MR. BILEK:

10                Q.    And what are those areas?

11                A.    Those areas have been the importance

12          of providing analgesia, meaning pain control,

13          to avoid physical and other stresses during

14          human development after birth.

15                Q.    And you -- have you ever cited to

16          his published work?

17                A.    I'm sorry.         Zoom.       Could you repeat

18          the question.

19                Q.    In any of your articles, have you

20          ever cited to Dr. Anand?

21                A.    I don't recall.

22                Q.    But it's certainly possible,




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1           but I realize that --

2                        BY MR. BILEK:

3                 Q.     So --

4                 A.     No.     You've got to let me finish.

5           But I realize that, as I have said enumerable

6           times, we have so much evidence that shows what

7           is and isn't a cause of a later problem.

8                 Q.     Now, you -- have you ever diagnosed

9           a NAS child and listed a possible cause of the

10          NAS diagnosis as opioid?

11                A.     Yes.

12                Q.     When have you done that?

13                A.     Frequently.

14                Q.     Okay.     And what -- how do you make

15          that diagnosis?

16                A.     So there are definitions of all

17          diagnoses.     A definition that is very commonly

18          accepted currently in medicine is the

19          definition that appears in what are called the

20          ICD currently 10 codes, the criteria for making

21          a diagnosis.        And because I practice according

22          to the standards of my profession, I adhere to




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1           those definitions.

2                       I have lost track of the specific

3           question.     I'm sorry.

4                 Q.    I said:       How do you make a diagnosis

5           of NAS resulting -- that is caused in part by

6           opioids?

7                       MR. EHSAN:         Object to the form.

8                       THE WITNESS:           So that's actually

9           straightforward.        Thank you for a

10          straightforward question.

11                      I make the diagnosis in that

12          instance by having a baby who exhibits sign

13          symptoms consistent with the profile, the

14          behavioral repertoire of neonatal abstinence

15          syndrome, and I draw the link to the

16          possibility that maternal opioids are involved

17          by having one or both of the following:                  A

18          documented or suggestive maternal history.                    The

19          second is a toxicology screening either on the

20          mother or the newborn or both.

21                      BY MR. BILEK:

22                Q.    And on the maternal history, is one




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1           attributable reason from the fact that there is

2           documentation of the baby when a fetus being

3           exposed to opioids or other drugs that can

4           induce this clinical spectrum.

5                       BY MR. BILEK:

6                 Q.    And when opioids are prescribed, my

7           point is, that could be one of the causes of

8           the NAS?

9                       MR. EHSAN:         Object to the form.

10                      THE WITNESS:           Certainly.     NAS is

11          neonatal abstinence.           The abstinence has to

12          come from being abstinence of something.

13                      BY MR. BILEK:

14                Q.    Right.      Now in your diagnosing, do

15          you use the Finnegan test?

16                      MR. EHSAN:         Object to the form.

17                      THE WITNESS:           I do, because it is by

18          far the most common screening form that is

19          utilized and has been utilized for several

20          decades in the United States.

21                      BY MR. BILEK:

22                Q.    And it is widely used throughout by




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1                        THE WITNESS:           Yes.        That should seem

2           obvious.

3                        BY MR. BILEK:

4                 Q.     Okay.     Let's turn to the second

5           page, first full paragraph underneath the box.

6           It says -- well, actually, the last paragraph

7           -- let's see here.

8                        Actually, why don't I just have you

9           read what you -- what you wrote, the last

10          sentence of the first paragraph.

11                A.     "Reports of long-term adverse

12          behavioral effects in children of

13          narcotic-addicted mothers and in animal studies

14          are disturbing."

15                Q.     Is that -- do you take that as a

16          true statement?

17                       MR. EHSAN:         Object to the form.

18                       THE WITNESS:           In September of 1998,

19          when this paper was published, that is a

20          reasonable statement.             In -- what month are we

21          in?     In September of the year 2020, that

22          statement would need to be amended.




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1                        MR. EHSAN:         I object to the form.

2                        Doctor, if you can give me one

3           second because of this lag, I have to wait to

4           make sure he is done before I can object, so

5           just give me one second.               Thank you.

6                        BY MR. BILEK:

7                  Q.    So does this study cause you any --

8           does it disturb you in any way that there may

9           be long-term additional problems for NAS

10          children versus children that are in the same

11          economic circumstance?

12                       MR. EHSAN:         Object to the form.

13                       THE WITNESS:           Does it disturb me?

14          I'm not sure how to answer that.

15                       BY MR. BILEK:

16                 Q.    Yes.

17                 A.    But I will answer you about whether

18          I am disturbed by the quality of the

19          conclusions, and I am not, because to be a bit

20          more granular and accurate, let me just point

21          out several things that are said that are

22          alighted by, you know, the conclusion that you




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1                        MR. EHSAN:         Objection.

2                        BY MR. BILEK:

3                  Q.    And it's fair to say that you didn't

4           consider this opinion in drafting your report.

5                  A.    Incorrect.

6                        MR. EHSAN:         Object to the form.

7                        BY MR. BILEK:

8                  Q.    Well, you have no evidence that you

9           did.

10                 A.    You have no evidence that I didn't.

11          What I said is that I have -- you have got to

12          let me finish a brief -- you cut me off when I

13          try and answer you.

14                       I am not being argumentative.                 I am

15          trying to finish a sentence.                    I realize that

16          Zoom makes everything much more difficult.

17                       What I said is that, you can't, you

18          know, rule out that I didn't, simply because,

19          like I said, I have looked at an enormous

20          number of papers.          I frankly offhand do not

21          recall one way or the other whether this is one

22          of them.     Period.       That's all.




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1                        MR. EHSAN:          How about we take a

2           five-minute break whenever you are ready.

3                        MR. BILEK:          Okay.          Fine by me.

4                        MR. EHSAN:          All right.

5                        (A short recess was taken.)

6                        MR. BILEK:          Court Reporter, could

7           you hand Exhibit 19 to the witness, please.

8                        (Deposition Exhibit 19 was marked

9           for identification.)

10                       BY MR. BILEK:

11                 Q.    Can you identify this exhibit for

12          the record.

13                 A.    A publication in the journal, JAMA,

14          J-A-M-A, Network Open from 2019 entitled:

15          "Cognitive and Motor Outcomes of Children With

16          Prenatal Opioid Exposure, a Systematic Review

17          and Meta-Analysis."

18                 Q.    What is a meta-analysis?

19                 A.    So a meta-analysis is a technique by

20          which individual studies, in this case,

21          individual clinical trials usually are

22          aggregated.       It's not a straightforward




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1                 A.     Yes.     It is an article published in

2           Frontiers in Pediatrics in June of 2020.                   It is

3           entitled:     "Perinatal opioid exposure primes

4           the peripheral immune system towards

5           hyperreactivity."

6                        I am listed as -- I am listed as the

7           editor.     I did not review it.                The reviewers

8           are listed, but I certainly looked at the

9           article, looked at the reviews, and I was the

10          editor.

11                Q.     And you approved the article for

12          publication.

13                A.     Yeah.     That's the meaning of what I

14          just said.

15                       MR. EHSAN:         Object to the form.

16                       BY MR. BILEK:

17                Q.     Did you submit the article for

18          publication as editor?

19                       MR. EHSAN:         Object to the form.

20                       THE WITNESS:           No.     I approved the

21          article for publication.

22                       BY MR. BILEK:




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1           alarming rates."

2                        Do you agree with that?

3                 A.     Yes.

4                        MR. EHSAN:         Object to the form.

5                        BY MR. BILEK:

6                 Q.     What?

7                 A.     Yes.

8                 Q.     You do?       Okay.

9                        Let's go to the second paragraph, go

10          to the middle.        It says:         "Recent studies

11          showing an association between opioid use

12          during pregnancy and poor health outcomes for

13          both pregnant women and infants highlight

14          prenatal opioid exposure as a serious public

15          health concern."

16                       Do you see that?

17                A.     I see everything that you are asking

18          me to look at, yes.

19                Q.     Do you agree with that statement?

20                A.     Sure.

21                Q.     "Opioid exposed infants represent

22          extremely vulnerable patient population with 50




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1           to 80 percent experienced neonatal abstinence

2           syndrome."

3                        Do you see that?

4                 A.     Yes.

5                 Q.     Do you agree with that statement

6           that you edited?

7                 A.     Well, yes.         In the same sense that

8           in terms of quantifying this, these are

9           ballparks.      A previous article that you asked

10          me about a statement that I agree or disagree,

11          quoted 75 to 90 percent.               Now it's 50 to

12          80 percent.      Certainly it's the majority.

13          Difference in different populations.

14                Q.     "The prenatal opioid exposures

15          associated with an increased risk of fetal

16          growth restriction, preterm birth, and lifelong

17          motor and cognitive deficits."

18                       Do you see that?

19                A.     I do.

20                Q.     Do you now agree with that

21          statement?

22                A.     I don't agree with all of the




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1           and make some of that language a little bit

2           more precise in the ways that I have elaborated

3           here today.

4                        I had for myself two options.                One

5           is I could say, gee, although I know a lot

6           about this topic, maybe I shouldn't review this

7           even though it's on rats, not humans.                  The

8           other is that I would look critically at the

9           methods and the conclusions, specifically the

10          methods and that I would leave it to the

11          reviewers to make comments as long as they

12          generally agreed with them about specific

13          wording.

14                       So what I am trying to say is that,

15          yes, I'm the editor.            Yes, my name is on here

16          and yes, I agree with this paper.                But had I

17          been one of the reviewers, I might have

18          suggested a bit more qualification granularity.

19          I hope that clarifies my stance about this

20          paper.

21                Q.     But you didn't, sir, did you?

22                A.     I didn't what?




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1                        BY MR. BILEK:

2                  Q.    Let's go to the last sentence in

3           that same paragraph.             Would you read that.

4                  A.    Which paragraph were we on again?

5                  Q.    We are on -- in the introduction, we

6           are on the second paragraph and start with:

7           "The devastating."

8                  A.    "The devastating consequences of

9           opioid exposure are the physical health and

10          developmental outcomes of exposed children

11          strengthen the need to advance scientific

12          understanding of the underpinnings of

13          opioid-induced neural injury and to advance

14          biomarker development of this patient

15          population."

16                 Q.    That's contrary to your written

17          report in this case, isn't it?

18                       MR. EHSAN:          Object to the form.

19                       THE WITNESS:            I don't know if it's

20          contrary.      It's certainly divergent, and as I

21          read through this paper, I perhaps -- and here

22          is my speculation about my own motives:                     In




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1           contrary to your position that you took in this

2           case in which you wrote a slanted report?

3                        MR. EHSAN:         Object to the form.

4                        THE WITNESS:           Yeah.       If I could, I

5           would object to your saying that it's a slanted

6           report.     I did not write a slanted report, and

7           I do not understand your question aside from

8           the attempt to impute my integrity.

9                        BY MR. BILEK:

10                Q.     Well, let's put it this way,

11          something we can agree on.

12                       Many long-term studies that were

13          contrary to your position were omitted from the

14          report.

15                       MR. EHSAN:         Object to the form.

16                       THE WITNESS:           My report cites a

17          small number of papers which in each case were

18          meant to be illustrative of a given point.                      I

19          will say for the nth time, my references are

20          anything but comprehensive or all inclusive.

21          No conclusion should be drawn further than

22          that.




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1           response to perinatal opioid exposure

2           characterized by immune cell reprogramming and

3           priming."

4                 Q.       Continue reading.

5                 A.       "This evidence may, in part,

6           contribute to the neurological injury following

7           developmental opioid exposure characterized in

8           our previous preclinical study.                   The current

9           study and the treating investigations that link

10          developmental and neurological injuries

11          including cerebral palsy and Down syndrome with

12          underlying systemic inflammation resulting from

13          abnormal PBMC activity."

14                Q.       Do you agree with that?

15                A.       Agree with which aspects of it?

16                Q.       The conclusion of the study you

17          edited.

18                A.       Okay.     The entirety of what I just

19          read?       Yeah.   I agree with their results.              I am

20          interested in their connection of the

21          implications of the results to other separate

22          issues of neurodevelopment as they mention,




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1                        BY MR. BILEK:

2                  Q.    Is this something that you have seen

3           before?

4                  A.    No.

5                  Q.    Were you involved at all with the

6           March of Dimes and their -- in connection with

7           NAS?

8                  A.    Yes, obviously.

9                  Q.    What did you do for the March of

10          Dimes in connection with NAS?

11                 A.    So as I -- you know, my involvement

12          with the March of Dimes goes back to the 1980s

13          and during that time, I was a participant,

14          fund-raiser, spokesperson, scientific and

15          clinical advisor and board member at different

16          times and in different places.

17                       From many of those roles, I was

18          involved with their initiatives which as you

19          say are trying to improve the care and outcomes

20          of newborns and infants.               The March of Dimes, I

21          should add, started under FDR's administration

22          and it were the dimes that were placed in order




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1           right above the box:             "As they grow older."

2                  A.     "As they grow older."             Okay.     "As

3           they grow older, children who had NAS may have

4           problems with speech, language and learning."

5                  Q.     Continue.

6                  A.     "They may need early intervention

7           services to help them learn to walk, talk and

8           interact with others."

9                  Q.     Do you agree with this statement by

10          the March of Dimes?

11                          MR. EHSAN:           Object to the form.

12                        THE WITNESS:           Well, I never did and

13          certainly now, I don't speak for the March of

14          Dimes.      I would say that strictly speaking, I

15          agree with the following sentence:                  "As they

16          grow older, children who had NAS may have

17          problems with speech, language and learning."

18          I agree with that and I have given you my --

19          again, critical reading of the literature,

20          which is that, yes, NAS is a marker, and there

21          are many ways of getting to NAS.

22                        NAS may mean -- may be a consequence




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